Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.190 Page 1 of 22



1    Devon K. Roepcke (SBN 265708)
     LAW OFFICES OF DEVON K. ROEPCKE
2    170 Laurel Street
3    San Diego, CA 92101
     Tel: 619-940-5357
4    droepcke@lawdkr.com
5
     Attorney for Plaintiff: Sarah Ostrander
6
7
8                        UNITED STATES DISTRICT COURT
9                      SOUTHERN DISTRICT OF CALIFORNIA

10
                               )               CASE NO.: 3:21-cv-00175-W-LL
11   SARAH OSTRANDER, an       )
     individual;               )               FIRST AMENDED COMPLAINT FOR
12
                                               DAMAGES FOR:
                               )
13                Plaintiff,   )                 1.   Sex Discrimination in Violation of Title VII
14          v.                 )                 2.   Interference with CFRA Leave
                               )                 3.   Retaliation in Violation of CFRA
15
     ST. COLUMBA SCHOOL;       )                 4.   Interference with FMLA Leave
16   THE ROMAN CATHOLIC BISHIP )                 5.   Retaliation in violation of FMLA
                                                 6.   Wrongful Termination in Violation of
17   OF SAN DIEGO and DOES 1   )
                                                      Public Policy
     through 50 inclusive;     )
18                             )               Judge: Hon. Thomas J. Whelan
19                Defendants.  )               Mag. Judge: Hon. Linda Lopez
                               )
20                                             Action Date: October 2, 2020
                               )
21                             )
                               )
22
23
24
25
26
27
28



                                           -1-
                                FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.191 Page 2 of 22



1          NOW COMES Plaintiff, SARAH OSTRANDER demanding trial by jury,
2    complaining and alleging upon information and belief as follows:
3
4
                                        THE PARTIES
     1.    Plaintiff, SARAH OSTRANDER (hereinafter “Ms. Ostrander” or “Plaintiff”)
5
     is an individual who at all relevant times was jointly employed by Defendants in the
6
     County of San Diego, State of California.
7
     2.    Defendant, ST. COLUMBA SCHOOL (hereinafter “St. Columba”) is a
8
     California corporation. At all relevant times St. Columba jointly employed Ms.
9
     Ostrander, and more than 50 other employees, in the County of San Diego, State of
10
11
     California.

12
     3.    Defendant, THE ROMAN CATHOLIC BISHIP OF SAN DIEGO (hereinafter
     the “Diocese”) is a California corporation, who at all relevant times jointly
13
14
     employed Ms. Ostrander, and more than 50 other employees, in the County of San

15
     Diego, State of California.
     4.    Except as otherwise alleged, Plaintiff is unaware of the true names or
16
17
     capacities, whether individual, corporate, associate, or otherwise, of the named

18
     Defendants designated herein as DOES 1-50, inclusive. Plaintiff is informed and
     believes, and based thereon alleges, that each of the Defendants designated herein as
19
20
     DOES 1-50, inclusive, are in some way liable to Plaintiff, and are responsible in some

21
     manner for the transactions, events, and occurrences herein alleged and the damage
     herein was approximately caused thereby. Plaintiff will hereafter seek leave of the
22
     Court to amend this First Amended Complaint in order to allege said Defendants’ true
23
     names and capacities when the same are known to the Plaintiff.
24
     5.    Plaintiff is informed and believes, and based thereon alleges, that at all times
25
     herein mentioned Defendants were the successors in interest agents, trustees, partners,
26
27
     servants, joint ventures, contractors, alter egos and employees of the other
     Defendants; and the acts and omissions herein alleged were done by them acting
28



                                              -2-
                                   FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.192 Page 3 of 22



1    through such capacity and with the scope of their authority and with the permission
2    and consent of their Co-Defendants, or that each of them is jointly and severally liable
3    to Plaintiff.
4    6.     All defendants are hereinafter referred to collectively as “Defendants.”
5    7.     Defendants employed 50 or more people within a 75-mile radius to perform
6    services for a salary or wage.
7
8                    EXHAUSTION OF ADMINISTRATIVE REMEDIES
9           Within the time provided by law, Plaintiff made complaints to the California
10   Department of Fair Employment and Housing (hereinafter referred to as “DFEH”)
11   against each Defendant. On July 7, 2020, Plaintiff received a right-to-sue letter from
12   the DFEH. Pursuant to the Worksharing Agreement between the EEOC and the
13   DFEH, Plaintiff’s administrative remedies as to her claims under Title VII were also
14   exhausted by this filing.
15
16                               GENERAL ALLEGATIONS
17   8.     In May of 2010 Sarah Ostrander (“Ms. Ostrander”) graduated from Aurora
18   University in Aurora, Illinois, with a Bachelor’s Degree in Elementary Education
19   and a minor in Special Education.
20   9.     Thereafter Ms. Ostrander worked as a teacher in North Carolina for five
21   years, teaching Kindergarten and second grade.
22   10.    Ms. Ostrander’s husband is on active duty with the U.S. Navy. As a result,
23   Ms. Ostrander has moved around the country to the various places where he is
24   stationed.
25   11.    After living and working in North Carolina, Ms. Ostrander’s husband was
26   stationed at Andrews Airforce Base, in Maryland, so they moved to Maryland.
27   12.    During the time when they were living in Maryland, Ms. Ostrander taught in
28   Maryland and Virginia schools.


                                            -3-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.193 Page 4 of 22



1    13.   Also during this time, Ms. Ostrander became pregnant and gave birth to her
2    daughter.
3    14.   In 2018, Ms. Ostrander’s husband was stationed in San Diego, so they moved
4    together with their daughter.
5    15.   Ms. Ostrander has held a teaching certificate in the various states where she
6    worked before moving to California. When she moved to California she obtained a
7    provisional certification, allowing her to teach while she was in the process of
8    obtaining her California teaching credential.
9    16.   In 2018, Ms. Ostrander was hired by St. Mary’s school as a second grade
10   teacher for the 2018-2019 school year.
11   17.   St. Mary’s is a Catholic school operated by the Diocese.
12   18.   In order to become employed at St. Mary’s Ms. Ostrander had to submit a
13   Live Scan background check, which was received and maintained by the Diocese.
14   19.   The date Ms. Ostrander was hired to work at St. Mary’s is her “Diocesan Hire
15   Date,” meaning the date she became employed with the Diocese.
16   20.   Since it is not uncommon for employees to move around between Catholic
17   schools and parishes, the Diocese maintains employee files for the employees hired
18   at the various institutions under it.
19   21.   The Diocese keeps track of the “Diocesan Hire Date” for each of its joint
20   employees. If an employee moves from one school or parish to another, the
21   “Diocesan Hire Date” will stay the same. This is the date that is used for the
22   purposes of qualifying certain benefits, as well as for FMLA leave.
23   22.   The schools that operate within the Diocese have their own on-site human
24   resources person, referred to as a “Location Administrator,” but there are guided by
25   the human resources at the Diocese, referred to as the “Office for Human
26   Resources.”
27   23.   If there is an issue the Location Administrator is unsure about, they escalate
28   the issue to the Office for Human Resources for a final decision.


                                             -4-
                                  FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.194 Page 5 of 22



1    24.   In 2019, Ms. Ostrander was hired by St. Columba as a preschool teacher for
2    the 2019-2020 school year. St. Columba is also a Catholic school operated by the
3    Diocese.
4    25.   In the contract Ms. Ostrander signed for St. Columba was a standard contract
5    provided by the Diocese. It was nearly identical to the contract she signed for St.
6    Mary’s.
7    26.   According to the contract, teachers must submit their fingerprints to the
8    Department of Justice for a background check through Live Scan. However, this
9    requirement is waived for teachers who have already submitted their fingerprints
10   through Live Scan to the Diocese. This is because Diocese received, reviewed, and
11   maintained Live Scan employee background check results for the employees that
12   work under it.
13   27.   The Diocese had the ability to deny employment or terminate an employee
14   who received an unacceptable Live Scan report, even if that employee was
15   technically being hired by a school.
16   28.   Although Ms. Ostrander was provisionally certified in California, and in the
17   process of receiving her California teaching credential, St. Mary’s and St. Columba
18   are Catholic schools, which fall under the Diocese, and as such, there is no
19   requirement that their teachers have California teaching credentials.
20   29.   Additionally, preschool teachers are not required to have a California teaching
21   credentials. Instead they fall under the guidelines for Community Care Licensing,
22   which is fewer requirements than a teaching credential; a California credentialed
23   teacher does not need to obtain Community Care Licensing to teach preschool.
24   30.   Nevertheless, having received a degree in Elementary Education and taught
25   for over 7 years, Ms. Ostrander already met the qualifications to receive both the
26   California teaching credential and Community Care Licensing. It was just a matter
27   of completing the application process and receiving approval.
28   31.   Ms. Ostrander’s contract at St. Columba provided for salary in the amount of


                                           -5-
                                FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.195 Page 6 of 22



1    $40,000 per year.
2    32.   On or around May of 2019, Ms. Ostrander became pregnant. Her due date
3    was February 6, 2020.
4    33.   Ms. Ostrander’s position at St. Columba was as a Lead Preschool/
5    Kindergarten Teacher.
6    34.   In her role as a Lead Preschool/ Kindergarten Teacher, Ms. Ostrander was to
7    create nonreligious lesson plans, content, and activities for the other teachers. In
8    addition, Ms. Ostrander taught her own classes, which included all secular subjects,
9    but focused on literature, arts, and math.
10   35.   Ms. Ostrander was provided a supporting teacher to help facilitate the class.
11   36.   About 20 minutes of the school day was dedicated to faith, but that portion of
12   the day was handled exclusively by the supporting teacher. Ms. Ostrander used that
13   time to do her other work.
14   37.   Ms. Ostrander did not facilitate any of the religious activities or teachings
15   with her students, or any other students at St. Columba.
16   38.   Ms. Ostrander was not expected to facilitate any of the religious activities or
17   teachings with her students, or any other students at St. Columba.
18   39.   On December 12, 2019, Ms. Ostrander was admitted to the hospital with pre-
19   term labor.
20   40.   Ms. Ostrander’s pre-term labor constituted a serious health condition because
21   it increased the risk that she would suffer pregnancy complications. She was
22   admitted to the hospital for two days.
23   41.   On December 13, 2019, Defendants made the decision to cancel Ms.
24   Ostrander’s contract and change her from a salaried employee to an hourly
25   employee.
26   42.   When the Principal of St. Columba, John Amann informed Ms. Ostrander
27   about the decision, he told her that order to change her employment status was
28   coming “straight from the Diocese.” Thus, the Diocese was exerting direct control


                                             -6-
                                  FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.196 Page 7 of 22



1    over Ms. Ostrander’s wages, and hours of work.
2    43.   Ms. Ostrander resisted the change because she had always been a salaried
3    teacher. She felt that the demands of the job lend themselves more to a salaried
4    position, rather than an hourly one.
5    44.   Additionally, as a salaried teacher, her $40,000 salary was spread out so that
6    she would be paid the same amount during school holidays, breaks, and summer
7    vacation that she was paid when school was in session. As an hourly employee, her
8    weekly compensation would remain comparable, but once school was out for
9    vacations or holidays, she would not be paid anything. This would result in a
10   significant drop in her annual income.
11   45.   Mr. Amann informed Ms. Ostrander that she could clock in for additional
12   time to make up for some of the additional income she was supposed to be earning
13   under her contract, but the Diocese would determine how many additional hours.
14   46.   Mr. Amann told Ms. Ostrander he would let her know once he had an answer
15   from the Diocese about the additional time.
16   47.   On or about December 16, 2019, Ms. Ostrander went to Marlo Antonio, who
17   was the Location Administrator at St. Columba, to discuss her options for taking
18   leave for the birth of her child.
19   48.   Ms. Antonio was not sure whether Ms. Ostrander qualified for FMLA leave
20   because she had not been at St. Columba for more than twelve months.
21   49.   As was common practice when Ms. Antonio was unsure about something, she
22   escalated the question to Kristie Krische, who worked for the Office for Human
23   Resources at the Diocese.
24   50.   Ms. Krische informed Ms. Antonio that although Ms. Ostrander had not been
25   employed with St. Columba for more than twelve months, her “Diocesian Hire
26   Date” made her employment more than twelve months, so Ms. Ostrander qualified
27   for FMLA.
28   51.   On December 16, 2019, Ms. Antonio forwarded the response she got from


                                            -7-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.197 Page 8 of 22



1    Ms. Krische regarding protected leave, stating “[h]ere is the guideline from the
2    Diocese. If you have any questions, please feel free to contact Kristie Krische.”
3    52.      On January 14, 2020, Ms. Antonio sent the following email to Ms. Ostrander:
4
5          Hi, Sarah!

6
           The Leave Request Form only needs your information on Section I
7
           on page 1 and then Ms. Lori will complete Section II. Please
8          complete page 1 and then give the form to Ms. Lori.
9
10         There is no portion here for the doctor.
11
12         Section III is for Diocese HR.
13
14         Thank you,
15
           Marlo Antonio
16
           Business Manager
17
           St. Columba Parish
18
19
     53.      Attached to the email was the “Leave Request Form,” a copy of which is also
20
     attached hereto as Exhibit “A.”
21
     54.      The upper right-hand corner of the “Leave Request Form,” has the logo of the
22
     “Diocese of San Diego Office for Human Resources”
23
     55.      The “Leave Request Form” indicates that it is for Family and Medical Leave
24
     Act (FMLA) California Family Rights Act (CFRA) and Pregnancy Leave. Within
25
     the form itself it does not distinguish between a request for protected leave under
26
     FMLA or CFRA. Thus, a request using this form was a request for leave under both
27
     FMLA and CFRA
28



                                               -8-
                                    FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.198 Page 9 of 22



1    56.   The “Leave Request Form” consists of three sections: Section I is to be
2    completed by the employee, indicating the type of leave to be taken and the reason;
3    Section II is to be completed by the Location Administrator; and Section III is to be
4    completed by the Office for Human Resources at the Diocese.
5    57.   Section III contains a box to check whether the employee has been employed
6    by the Diocese for at least 12 months, with a place to write the “Diocesan Hire
7    Date.” Under that section is a section for Diocese HR to check whether the
8    employee has worked at least 1,250 hours in the last 12 months for the Diocese.
9    58.   At the time when Ms. Ostrander requested to take leave, she had been
10   employed for more than 12 months and she had worked more than 1,250 hours in
11   the previous 12 months because the time she worked for St. Mary’s is included.
12   59.   If for some reason Ms. Ostrander did not actually qualify for protected leave,
13   Ms. Krische, on behalf of the Diocese, and Ms. Antonio, on behalf of St. Columba,
14   represented to Ms. Ostrander that she qualified for protected leave under FMLA and
15   CFRA.
16   60.   Ms. Ostrander reasonably relied on the representations of Ms. Krische and
17   Ms. Antonio that she qualified for protected leave because they were in positions to
18   approve Ms. Ostrander’s request for leave, and they indicated that they had checked
19   her qualifications.
20   61.   On January 15, 2020, in reliance on the representation that she qualified for
21   protected leave under FMLA and CFRA, Ms. Ostrander submitted to the Diocese
22   her request to take protected leave for the birth of her child.
23   62.   Ms. Ostrander requested to start her protected leave on February 6, 2020,
24   which was her due date, and planned to return to work on April 30, 2020 to
25   complete the school year.
26   63.   On January 16, 2020, Ms. Ostrander sent a follow up email to Mr. Aman
27   asking if the Diocese had determined how many additional hours she would be
28   allowed to claim to make up for the loss of pay after switching her from a salaried


                                            -9-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.199 Page 10 of 22



1    employee to an hourly employee.
2    64.   Later in the afternoon on January 16, 2020, Ms. Ostrander was called to the
3    office and told that she was being terminated.
4    65.   Defendants gave a pretextual excuse, stating that her coursework in college
5    and her Virginia teaching certificate would not transfer to the State of California for
6    Community Care Licensing. This is not true.
7    66.   On March 2, 2020, a month and a half after Defendants terminated Ms.
8    Ostrander on the false excuse that she would not able to be credentialed in
9    California, Ms. Ostrander received her Multiple Subject Teaching Credential from
10   the California Commission on Teacher Credentialing.
11   67.   The Diocese jointly employed Ms. Ostrander throughout her employment
12   with St. Mary’s and St. Columba.
13   68.   The Diocese had the power to hire and fire Ms. Ostrander. This is
14   demonstrated by the fact that the Diocese received and reviewed her Live Scan
15   background check, and ordered St. Columba to reclassify Ms. Ostrander’s position
16   from salaried to hourly.
17   69.   The Diocese supervised and controlled employee work schedules or
18   conditions of payment. This is indicated by the fact that the Diocese was
19   responsible for determining whether employees qualified for leave, and granting
20   such requests.
21   70.   On or about April 1, 2020, Mr. Aman sent an email to the families of St.
22   Columba School in which he indicates “Per guidance from the Diocese of San
23   Diego, we are being asked to no longer provide pay to our Preschool teachers
24   effective April 3rd.” He goes on to say, “[t]his is not a decision that we take lightly,
25   but we do operate as part of a larger system.”
26   71.   The Diocese’ ability to order St. Columba to stop paying preschool teachers
27   and close down during the COVID pandemic indicates that it controls the rate,
28   method, and condition of payment, as well as the work schedules for the teachers at


                                            -10-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.200 Page 11 of 22



1    its schools.
2    72.    Additionally, the Diocese determined the rate and payment method for Ms.
3    Ostrander when it changed her status from salary to hourly and determined that she
4    should remain clocked in for additional time to make up for the difference in her pay
5    that resulted from the change.
6    73.    The Diocese maintained employment records. This is indicated by the fact
7    that the Dioceses kept track of the “Diocesan Hire Date” and maintained the Live
8    Scan background check reports, allowing employees to move from one Diocese
9    school to another without having to undergo an additional background check.
10
11                                FIRST CAUSE OF ACTION
12     (Sex Discrimination in Violation of Title VII of the Civil Rights Act of 1964,
13                                    Against all Defendants)
14   74.    Plaintiff incorporates by reference and realleges each and every one of the
15   allegations contained in the preceding and foregoing paragraphs of this First Amended
16   Complaint as if fully set forth herein.
17   75.    At all relevant times, Defendants were subject to Title VII of the Civil Rights
18   Act of 1964, 42 U.S.C. Section(s) 2000e et seq., as amended, and 42 U.S.C. Section
19   1981, (Title VII),
20   76.    Plaintiff was a covered employee under Title VII and Defendants were covered
21   employers.
22   77.    Plaintiff has exhausted all administrative requirements prior to filing this cause
23   of action for violation of Title VII, and is filing this cause of action in a timely fashion.
24   78.    Under 42 U.S.C. 2000e-2(a), it is unlawful to fail or refuse to hire or to
25   discharge any individual or otherwise to discriminate against any individual with
26   respect to his compensation, terms, conditions, or privileges of employment, because
27   of such individual’s sex. 42 U.S.C. § 2000e-2(a).
28   79.    An employment practice which causes disparate impact on the basis of sex is


                                             -11-
                                  FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.201 Page 12 of 22



1    unlawful. 42 U.S.C. 2000e-2(k).
2    80.    “[T]he terms ‘because of sex’ or ‘on the basis of sex’ include, but are not
3    limited to, because of or on the basis of pregnancy, childbirth, or related medical
4    conditions. . . .”
5    81.    “[W]omen affected by pregnancy, childbirth, or related medical conditions
6    shall be treated the same for all employment-related purposes, including receipt of
7    benefits under fringe benefit programs, as other persons not so affected but similar in
8    their ability or inability to work. . . .” 42 U.S.C. 2000e(k).
9    82.    Defendants knew that Plaintiff was pregnant.
10   83.    Defendants discriminated against plaintiff based on her sex (female) with
11   respect to the terms and conditions of her employment, including, without
12   limitation, in that she was demoted, terminated, and otherwise discriminated against
13   related to her pregnancy and childbirth, and related to her being a woman affected
14   by pregnancy and childbirth.
15   84.    As a proximate result of Defendants’ violations of Title VII, as described
16   herein, Plaintiff has suffered, and continues to suffer, economic loss in an amount to
17   be shown according to proof.
18   85.    As a further proximate result of Defendants’ violation of Title VII, as
19   described herein, Plaintiff has suffered, and continues to suffer, emotional distress,
20   mental anguish, shame, embarrassment, humiliation, loss of enjoyment of life, and
21   injury to reputation, and is entitled to an award of damages to compensate her
22   therefor.
23   86.    Defendants’ violation of Title VII, as aforesaid, has been malicious and
24   oppressive, and Plaintiff is entitled to an award of punitive and exemplary damages
25   therefor.
26   87.    Plaintiff has had to hire attorneys to prosecute the action herein, and is
27   entitled to an award of reasonable attorneys’ fees.
28



                                            -12-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.202 Page 13 of 22



1                                   SECOND CAUSE OF ACTION
2                   (Interference with CFRA Leave Against all Defendants)
3    88.      Plaintiff incorporates by reference and realleges each and every one of the
4    allegations contained in the preceding and foregoing paragraphs of this First Amended
5    Complaint as if fully set forth herein.
6    89.      Defendants were a covered employer and Plaintiff was an eligible employee
7    under the CFRA.
8    90.      Plaintiff requested protected leave under the CFRA for the birth of her child.
9    91.      Plaintiff provided Defendants with adequate notice of her request for protected
10   leave.
11   92.      Defendants interfered with Plaintiff’s right to take CFRA leave and denied her
12   said leave by preemptively terminating her employment.
13   93.      Defendants willfully and/or with reckless indifference, violated CFRA and
14   discriminated against Plaintiff as outlined above, as a result of exercising her right to
15   request and/or take family and/or medical leave from her employment. Such
16   discrimination has resulted in damage and injury to Plaintiff as alleged herein.
17   94.      As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
18   suffered special damages including but not limited to past and future loss of income,
19   benefits, medical expenses, and other damages to be proven at time of trial.
20   95.      As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
21   suffered general damages including but not limited to shock, embarrassment, physical
22   distress and injury, humiliation, emotional distress, stress and other damages to be
23   proven at the time of trial.
24   96.      As a result of Defendants’ conduct, Plaintiff was forced to retain an attorney in
25   order to protect her rights. Accordingly, Plaintiff seeks the reasonable attorneys’ fees
26   and costs incurred in this litigation in an amount according to proof at trial.
27
28



                                               -13-
                                    FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.203 Page 14 of 22



1                                   THIRD CAUSE OF ACTION
2                (Retaliation Violation of the CFRA Against all Defendants)
3    97.   Plaintiff incorporates by reference and realleges each and every one of the
4    allegations contained in the preceding and foregoing paragraphs of this First Amended
5    Complaint as if fully set forth herein.
6    98.   Plaintiff exercised her right to take CFRA leave by making a request to HR at
7    the Diocese for medical leave from her employment for the birth of her child.
8    99.   After Plaintiff exercised her right to take family and/or medical leave under the
9    CFRA, Defendants terminated her employment.
10   100. Defendants willfully and/or with reckless indifference, violated CFRA and
11   discriminated against Plaintiff as outlined above, as a result of exercising her right to
12   request and/or take family and/or medical leave from her employment. Such
13   discrimination has resulted in damage and injury to Plaintiff as alleged herein.
14   101. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
15   suffered special damages including but not limited to past and future loss of income,
16   benefits, medical expenses, and other damages to be proven at time of trial.
17   102. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
18   suffered general damages including but not limited to shock, embarrassment, physical
19   distress and injury, humiliation, emotional distress, stress and other damages to be
20   proven at the time of trial.
21   103. As a result of Defendants’ conduct, Plaintiff was forced to retain an attorney in
22   order to protect her rights. Accordingly, Plaintiff seeks the reasonable attorneys’ fees
23   and costs incurred in this litigation in an amount according to proof at trial.
24
25                                  FOURTH CAUSE OF ACTION
26                (Interference with FMLA Leave Against all Defendants)
27   104. Plaintiff incorporates by reference and realleges each and every one of the
28   allegations contained in the preceding and foregoing paragraphs of this First Amended


                                               -14-
                                    FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.204 Page 15 of 22



1    Complaint as if fully set forth herein.
2    105. Defendants were a covered employer and Plaintiff was an eligible employee
3    under the FMLA.
4    106. Plaintiff provided notice of her intent to take FMLA leave by making a request
5    to HR at the Diocese for medical leave from her employment for reasons covered
6    under the FMLA, namely her pregnancy.
7    107. Defendants interfered with Plaintiff’s right to take FMLA leave and denied her
8    said leave by terminating her employment.
9    108. Defendants willfully and/or with reckless indifference, violated FMLA and
10   discriminated against Plaintiff as outlined above, as a result of exercising her right to
11   request and/or take family and/or medical leave from her employment. Such
12   discrimination has resulted in damage and injury to Plaintiff as alleged herein.
13   109. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
14   suffered special damages including but not limited to past and future loss of income,
15   benefits, medical expenses, and other damages to be proven at time of trial.
16   110. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
17   suffered general damages including but not limited to shock, embarrassment, physical
18   distress and injury, humiliation, emotional distress, stress and other damages to be
19   proven at the time of trial.
20   111. As a result of Defendants’ conduct, Plaintiff was forced to retain an attorney in
21   order to protect her rights. Accordingly, Plaintiff seeks the reasonable attorneys’ fees
22   and costs incurred in this litigation in an amount according to proof at trial.
23
24                                   FIFTH CAUSE OF ACTION
25              (Retaliation Violation of the FMLA Against all Defendants)
26   112. Plaintiff incorporates by reference and realleges each and every one of the
27   allegations contained in the preceding and foregoing paragraphs of this First Amended
28   Complaint as if fully set forth herein.


                                               -15-
                                    FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.205 Page 16 of 22



1    113. Plaintiff exercised her right to take FMLA leave by making a request to HR at
2    the Diocese for medical leave from her employment for reasons covered under the
3    FMLA.
4    114. After Plaintiff exercised her right to take family and/or medical leave under the
5    FMLA, Defendants terminated her employment.
6    115. Defendants willfully and/or with reckless indifference, violated FMLA and
7    discriminated against Plaintiff as outlined above, as a result of exercising her right to
8    request and/or take family and/or medical leave from her employment. Such
9    discrimination has resulted in damage and injury to Plaintiff as alleged herein.
10   116. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
11   suffered special damages including but not limited to past and future loss of income,
12   benefits, medical expenses, and other damages to be proven at time of trial.
13   117. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has
14   suffered general damages including but not limited to shock, embarrassment, physical
15   distress and injury, humiliation, emotional distress, stress and other damages to be
16   proven at the time of trial.
17   118. As a result of Defendants’ conduct, Plaintiff was forced to retain an attorney in
18   order to protect her rights. Accordingly, Plaintiff seeks the reasonable attorneys’ fees
19   and costs incurred in this litigation in an amount according to proof at trial.
20
21                                   SIXTH CAUSE OF ACTION
22     (Wrongful Termination in Violation of Public Policy Against all Defendants)
23   119. Plaintiff incorporates by reference and realleges each and every one of the
24   allegations contained in the preceding and foregoing paragraphs of this First Amended
25   Complaint as if fully set forth herein.
26   120. Plaintiff was in an employer-employee relationship with Defendants.
27   121. At all times mentioned herein, article I, section 8 of the California Constitution
28   prohibited the disqualification of a person entering or pursuing employment on the


                                               -16-
                                    FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.206 Page 17 of 22



1    basis of sex, which includes pregnancy. See Badih v. Myers (1995) 36 Cal. App. 4th
2    1289, 1296.
3    122. At all times mentioned herein, the Title VII, prohibited discrimination on the
4    basis of sex, which includes discrimination on the basis of pregnancy childbirth, or
5    related medical conditions.” 42 U.S.C. § 2000e(k).
6    123. At all times mentioned herein, the FMLA and CFRA provided that eligible
7    employees could take up to 12 weeks of protected leave due to medical conditions,
8    including for the birth of a child, and prohibited employers from interfering with said
9    leave, or retaliating against employees who requested or used leave.
10   124. Defendants terminated Plaintiff’s employment.
11   125. Plaintiff’s sex, pregnancy, and her request for protected leave for the birth of
12   her child were motivating reasons for Plaintiff’s discharge.
13   126. Defendants’ conduct, violated the public policy provided in article I, section 8
14   of the California Constitution because in terminating Plaintiff’s employment because
15   of her pregnancy, Defendants disqualified Plaintiff from pursing and continuing her
16   employment on the basis of her sex.
17   127. As alleged herein, Defendants’ conduct violated the public policy provided in
18   Title VII because they terminated her employment on the basis of her sex.
19   128. As alleged herein, Defendant’s conduct violated the public policy provided in
20   FMLA and CFRA because they terminated her employment as a result of her request
21   for protected leave for the birth of her child.
22   129. As a direct and proximate result of the unlawful Defendants’ conduct, which
23   violates the public policy described herein, Plaintiff suffered special damages
24   including but not limited to past and future loss of income, benefits, and other
25   damages to be proven at time of trial.
26   130. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
27   suffered general damages including but not limited to shock, embarrassment,
28   humiliation, emotional distress, stress and other damages to be proven at the time of


                                            -17-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.207 Page 18 of 22



1    trial.
2    131. Defendants committed the acts herein alleged maliciously, fraudulently, and
3    oppressively in conscious disregard for Plaintiff’s rights. The unlawful conduct
4    alleged above was engaged in by the officers, directors, supervisors and/or managing
5    agents of Defendants who were acting, at all times relevant to this Complaint, within
6    the scope and course of their employment. Defendants knew or should have known
7    of the conduct and ratified their unlawful conduct. Plaintiff is therefore entitled to
8    recover punitive damages from Defendants in an amount according to proof.
9
10                              REQUEST FOR JURY TRIAL
11   132. Plaintiff requests a trial by jury of all issues triable as a matter of right by a
12   jury.
13   ///
14   ///
15   ///
16   ///
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///


                                            -18-
                                 FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.208 Page 19 of 22



1
2                                PRAYER FOR RELIEF
3         WHEREFORE, Plaintiff, prays for judgment against Defendants as follows:
4            1. For economic damages for lost wages, medical expenses and lost
5               employment opportunities in an amount within this Court’s general
6               jurisdiction according to proof at trial;
7            2. For general non-economic damages for emotional and physical distress,
8               humiliation and mental anguish relief in an amount within this Court’s
9               general jurisdiction according to proof at the time of trial;
10           3. For punitive damages in an amount sufficient to punish;
11           4. For prejudgment interest;
12           5. For attorneys’ fees;
13           6. For costs of suit; and
14           7. For such other and further relief as the Court deems proper.
15
16   DATED: August 9, 2021             LAW OFFICES OF DEVON K. ROEPCKE, PC
17
18                                     By: _________________________________
19                                         DEVON K. ROEPCKE, ESQ.
                                           Attorneys for Plaintiff
20
                                           Sarah Ostrander
21
22
23
24
25
26
27
28



                                         -19-
                              FIRST AMENDED COMPLAINT
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.209 Page 20 of 22




                  Exhibit “A”
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.210 Page 21 of 22
Case 3:21-cv-00175-W-LL Document 11 Filed 08/09/21 PageID.211 Page 22 of 22
